     Case: 1:17-cv-09286 Document #: 94 Filed: 08/29/19 Page 1 of 2 PageID #:1081



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

DEVON BANK as the Guardian of the Estate of                 )
ALAYNA HIKE, a minor, and                                   )
RHONDA JONES, Individually,                                 )
          Plaintiffs,                                       )
                                                            )
v.                                                          )       No.    17-cv-09286
                                                            )
UNITED STATES OF AMERICA and                                )
VHS WEST SUBURBAN MEDICAL CENTER, INC.                      )
d/b/a WEST SUBURBAN MEDICAL CENTER                          )
            Defendants.                                     )


                                  PLAINTIFFS’ STATUS REPORT

       NOW COME the Plaintiffs, DEVON BANK, as Guardian of the Estate of ALAYNA HIKE, a

Minor and RHONDA JONES, Individually, by and through their attorneys, Beam Legal Team, LLC,

and submit the following Plaintiffs Status Report, pursuant to the Court’s direction during the 8/14/19

status hearing:

       Please be advised that Plaintiffs will not be filing a motion for summary judgment.



Dated: August 29, 2019
                                             By counsel,

                                            /s/ Matthew M. Patterson
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                                            MATTHEW M. PATTERSON, Esq. (6316641)
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                                            Attorneys for Plaintiff
     Case: 1:17-cv-09286 Document #: 94 Filed: 08/29/19 Page 2 of 2 PageID #:1082



                                     CERTIFICATE OF SERVICE

       I, Matthew M. Patterson, an attorney, hereby certify that on August 29, 2019, I caused Plaintiffs’
Status Report to be served on the following counsel of record by electronic mail as indicated below:

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                                                      /s/ Matthew M. Patterson
                                                      MATTHEW M. PATTERSON, Esq. (6316641)




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